       Case 2:06-cr-00306-JAM Document 22 Filed 12/01/06 Page 1 of 3


 1   HAYES H. GABLE III
     Attorney at Law
 2   State Bar No. 60368
     428 J Street, Suite 350
 3   Sacramento, CA 95814
     (916) 446-3331
 4   Fax: (916) 447-2988                                    OK/HAV
 5   Attorney for Defendant
     JAVIER MARQUEZ
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                               Cr. S-06-306 DFL
12
                              Plaintiff,                     STIPULATION AND ORDER RE:
13                                                           CONTINUANCE OF STATUS
                                                             CONFERENCE AND
14           vs.                                             EXCLUSION OF TIME UNDER
                                                             SPEEDY TRIAL ACT
15   LEONEL ZAMORA CHAVEZ, et al.
16                                                           Hon. David F. Levi
                              Defendant(s).
17
18                                             STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jason Hitt, and defendant Leonel Zamora Chavez, Javier Marquez, and Frederic Joseph
21   Macias, by and through their respective counsel, Ramon Magana, Hayes H. Gable III, and
22   Christopher Haydn-Myer agree and stipulate to vacate the existing hearing date in the above-
23   captioned action, December 14, 2006, and to continue the matter to January 18, 2007, at 10:00 a.m.,
24   for status conference.
25          The reason for this continuance is that the government and defendants continue to negotiate
26   a resolution of this case and the additional time is necessary to complete these negotiations.
27   Additionally, as to defendant Marquez, further investigation is ongoing which may affect the
28   ultimate resolution of his case. The parties further agree and stipulate that the period for the filing
     of this stipulation until January 18, 2007, should be excluded in computing time for commencement
        Case 2:06-cr-00306-JAM Document 22 Filed 12/01/06 Page 2 of 3


 1   of trial under the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. §
 2   3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable time
 3   necessary for effective presentation.
 4          It is further agreed and stipulated that the need of defense counsel to prepare exceeds the
 5   public’s interest in commencing trial within 70 days.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7
 8   IT IS SO STIPULATED
 9   DATE: November 30, 2006                                        s/Hayes H. Gable, III for
                                                                   RAMON MAGANA
10                                                                 Attorney for Defendant
                                                                   LEONEL ZAMORA CHAVEZ
11
12                                                                  s/Hayes H. Gable, III
                                                                   HAYES H. GABLE, III
13                                                                 Attorney for Defendant
                                                                   JAVIER MARQUEZ
14
15                                                                   s/Hayes H. Gable, III for
                                                                   CHRISTOPHER HAYDN-MYER
16                                                                 Attorney for Defendant
                                                                   Frederic Joseph Macias
17
18   DATE: November 30, 2006
                                                                    s/Hayes H. Gable, III for
19                                                                 JASON HITT
                                                                   Asst. U.S. Attorney
20
21                              ORDER FINDING EXCLUDABLE TIME
22   For the reasons set forth in the accompanying stipulation and declaration of counsel filed under seal,
23   the status conference in the above-entitled action is continued to January 18, 2007 at 10:00 a.m. The
24   court finds excludable time in this matter from December 14, 2006 through January 18, 2007, under
25   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow
26   reasonable time necessary for effective presentation. For the reasons stipulated by the parties, the
27   ////
28   ////

                                                     -2-
       Case 2:06-cr-00306-JAM Document 22 Filed 12/01/06 Page 3 of 3


 1   Court finds that the interest of justice served by granting the requested continuance outweigh the best
 2   interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
 3
 4   IT IS SO ORDERED.
 5
 6   DATE: December 1, 2006
 7                                                                  /s/ David F. Levi
                                                                    HON. DAVID F. LEVI
 8                                                                  Chief U.S. District Court Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      -3-
